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  9
                               UNITED STATES BANKRUPTCY COURT
 10                            EASTERN DISTRICT OF WASHINGTON
 11   In re                                               No. 23-01243-WLH11 LEAD CASE
                                                          Jointly Administered
 12   ICAP ENTERPRISES, INC., et al.,
                                                              OBJECTION TO DEBTORS’
 13           Debtors.1                                       MOTION FOR ORDER (I)
                                                              AUTHORIZING DEBTORS TO
 14                                                           OBTAIN POSTPETITION SECURED
                                                              FINANCING; (II) GRANTING
 15                                                           SUPERPRIORITY
                                                              ADMINISTRATIVE EXPENSE
 16                                                           CLAIMS; AND (III) GRANTING
                                                              RELATED RELIEF
 17

 18

 19   1
       The Debtors (along with their case numbers) are iCap Enterprises, Inc. (Case No. 23-01243- 11); iCap Pacific NW
      Management, LLC (Case No. 23-01261-11); iCap Vault Management, LLC (Case No. 23-01258-11); iCap Vault,
 20   LLC (Case No. 23- 01256-11); iCap Vault 1, LLC (Case No. 23-01257-11); Vault Holding 1, LLC (Case No. 23-
      01256-11); iCap Investments, LLC (Case No. 23- 01255-11); iCap Pacific Northwest Opportunity and Income Fund,
 21   LLC (Case No. 23-01253-11); iCap Equity, LLC (Case No. 23-01247-11); iCap Pacific Income 4 Fund, LLC (Case
      No. 23-01251- 11); iCap Pacific Income 5 Fund, LLC (Case No. 23-01249-11); iCap Northwest Opportunity Fund,
 22   LLC (Case No. 23-01253-11); 725 Broadway, LLC (Case No. 23-01245-11); Senza Kenmore, LLC (Case No. 23-
      01254-11); iCap Campbell Way, LLC (Case No. 23-01250-11); UW 17th Ave, LLC (Case No. 23- 01267-11); iCap
 23   Broadway, LLC (Case No. 23-01252-11); VH 1121 14th LLC (Case No. 23-01264-11); VH Senior Care LLC (Case
      No. 23-01266-11); VH Willows Townhomes LLC (Case No. 23-01262-11); iCap @ UW, LLC (Case No. 23-01244-
      11); VH 2nd Street Office, LLC (Case No. 23-01259-11); VH Pioneer Village LLC (Case No. 23-01263-11); iCap
 24
      Funding LLC (Case No. 23-01246-11); iCap Management LLC (Case No. 23-01268-11); iCap Realty, LLC (Case
      No. 23-01260- 11); Vault Holding, LLC (23-01270-11); iCap Pacific Development LLC (23-01271-11); iCap
 25   Holding LLC (23-01272-11); iCap Holding 5 LLC (23-01273-11); and iCap Holding 6 LLC (23-01274-11); Colpitts
      Sunset, LLC (23-01432-11); CS2 Real Estate Development LLC (23-01434-11); and iCap International
 26   Investments, LLC (23-01464-11).




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  1
                 Socotra REIT 1, LLC; WE Alliance Secured Income Fund, LLC; and Jason
  2
      Yelowitz, in his capacity as trustee of the Jason Yelowitz 2006 Trust Dated March
  3

  4   31, 2006 (collectively, “Socotra”) objects to the Debtors’ Motion for Order (I)
  5
      Authorizing Postpetition Secured Financing; (II) Granting Superpriority
  6
      Administrative Expense Claims; and (III) Granting Related Relief (the “DIP
  7

  8   Motion” and the proposed order, the “DIP Order”) for the reasons set forth herein.
  9
      Socotra further joins in the United States Trustee’s objection to the DIP Motion
 10
      filed on March 11, 2024 at Dkt. No. 583. In support of this Objection, Socotra
 11

 12   states as follows:
 13
                                                    I.      BACKGROUND
 14
                 On or about December 15, 2022, VH 2nd Street Office, LLC (“VH 2nd
 15
 16   Street”) obtained a loan from Socotra REIT I, LLC (“Socotra”) in the original
 17
      principal amount of $3,000,000.00 (the “Loan”). The Loan was made pursuant to
 18

 19
      that certain Loan and Security Agreement dated December 15, 2022 (the “Loan

 20   and Security Agreement”) and is evidenced by that certain Secured Note dated
 21
      December 15, 2022 (the “VH Note”). As of the petition date, Socotra is owed
 22
 23
      $3,231,457.50 by VH 2nd Street.2

 24

 25   2
          The Loan was partially assigned to WE Alliance Secured Income Fund, LLC on January 5, 2023, pursuant to that

 26   certain Allonge of that date. The Loan was partially assigned to Jason Yelowitz, Trustee of the Jason




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  1
               The obligations of the Debtor under the Loan and Security Agreement and
  2
      the VH Note were secured by a deed of trust encumbering the property commonly
  3

  4   known as 2818 E. 2nd Street, Vancouver, WA 98661 (the “2nd Street Property”), as
  5
      well as an assignment of rents and security agreement. The 2nd Street Property is
  6
      income-producing and contains a number of business tenants.
  7

  8            On January 5, 2024, VH 2nd Street filed its Motion for an Order (I)
  9
      Approving the Sale of Real Property; and (II) Approving the Sale Free and Clear
 10
      of Liens, and Encumbrances (Pioneer Village and 2nd Street Properties) (the “Sale
 11

 12   Motion”) pursuant to which it sought court authority to sell the 2nd Street Property.
 13
      On January 30, 2024, the Court entered an order (the “Sale Order”) approving the
 14
      sale of the 2nd Street Property. Pursuant to the Sale Order, VH 2nd Street was
 15
 16   required to segregate $3,240,000 of the sale proceeds of the 2nd Street Property
 17
      pending further order of the Court allowing Socotras’ claim. VH 2nd Street is also
 18

 19
      required to pay Socotra adequate protection payments of interest at the contract

 20   rate until such time as the proceeds of the sale are released.
 21
               Socotra has been informed that the sale of the 2nd Street Property closed on
 22
 23
      March 11, 2024.

 24
      Yelowitz 2006 Trust, Dated March 31, 2006 (“Jason Yelowitz”), on February 21, 2023, pursuant to that certain
 25
      Allonge of that date.
 26



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POSTPETITION FINANCING - 3                                                                               605 5T H AVE S, ST E 900
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  1
                              II.    EVIDENCE RELIED UPON
  2
              This objection relies on the Declaration of Paul Cotter and the pleadings and
  3

  4   papers herein.
  5
                                       III.   ARGUMENT
  6
              Socotra shares the concerns articulated by the United States Trustee in his
  7

  8   objection to the Motion related to the proposed finding in paragraph D of the
  9
      Findings of Fact of the DIP Order that the iCap Debtors operated as a Ponzi
 10
      scheme and Section 3 of the Order which provides that the Debtors are entitled to
 11

 12   the benefit of the “Ponzi scheme presumption” in any “causes of action asserted
 13
      under Sections 544 and 548 of the Bankruptcy Code or any other applicable
 14
      fraudulent transfer, debtor/creditor law, avoidance and recovery statute or cause of
 15
 16   action, claim, or argument.”
 17
              As well-argued by the United States Trustee, whose arguments are
 18

 19
      incorporated herein, the proposed finding of fact that the iCap entities operated as a

 20   Ponzi scheme is premature and fraught with due process issues. Moreover, the
 21
      Debtors inexplicably seek to extend the Ponzi presumption to all Debtor entities
 22
 23
      notwithstanding that they offer scant evidence that entities like VH 2nd Street, and

 24   other real property owning entities in the iCap family, were involved in the alleged
 25

 26



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  1
      fraudulent scheme perpetrated by the investment fund entities. Applying the Ponzi
  2
      presumption to all of the Debtor entities is entirely improper given the evidence.
  3

  4           A.         Due Process Issues
  5
              It is unheard of, or at a minimum highly unusual, for a debtor or trustee to
  6
      seek a finding that a business was a Ponzi scheme in the context of a motion to
  7

  8   approve debtor-in-possession financing. Counsel for Socotra was unable to locate a
  9
      single instance in which a debtor has sought such a determination in this manner.
 10
      Needless to say, seeking such a finding in a DIP financing motion and in the time
 11

 12   frame in which the Debtors propose is prejudicial to potential targets of avoidance
 13
      actions and deprives them of them of their procedural due process rights to be
 14
      heard in a meaningful time and in a meaningful manner. Fuents v. Shevin, 407 U.S.
 15
 16   67, 80, 92 S.Ct. 1983, 32 L.Ed.2d 566 (1974) (“It is fundamental that the right to
 17
      notice and an opportunity to be heard ‘must be granted at a meaningful time and in
 18

 19
      a meaningful manner’”).

 20                      1.    The Ponzi Presumption Should be Determined by Adversary
 21
      Proceeding.
 22
 23
              In their Supplemental Brief in Support of Motion for DIP Financing (the

 24   “Supplemental Brief”) Debtors argue that the Court can make the determination of
 25
      whether the Debtors’ business constitute a Ponzi Scheme in a contested matter.
 26



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  1
      Their analysis is faulty. Bankruptcy Rule 7001 expressly requires that proceedings
  2
      to recover money or property be brought as an adversary proceeding. F.R.B.P.
  3

  4   7001(1). Debtors attempt to distinguish a Ponzi finding from a proceeding to
  5
      recover money, but, in fact, recovering money is precisely why they seek the
  6
      finding. The Ponzi finding is a precursor, a necessary step, for the Debtors to
  7

  8   successfully prosecute avoidance actions to recover funds from investors and other
  9
      unidentified targets.3 The Debtors’ attempts to analogize the Ponzi finding to
 10
      things like true-lease determinations, termination of the automatic stay, or
 11

 12   determinations of the nature of a leasehold interest are unavailing, as none of those
 13
      determinations fall with the scope of Rule 7001. The Ponzi finding, in contrast, is
 14
      an element of their intentional voidable transaction claims (the intent element).
 15
 16   What the Debtors are doing, in effect, is seeking a summary determination of an
 17
      element of their claim to recover property. The idea that they can separate this
 18

 19
      element of an avoidance claim out from the core cause of action, and treat it

 20   independently of their efforts to recover money, is nonsensical.
 21
      3
 22       One extremely troubling aspect of the efforts of the Debtor and Committee to seek a Ponzi finding at this juncture

 23   is that they have not identified who the targets are. Socotra has no information if arms-length lenders are targets or

      whether it needs to spend the time and resources to resist the Debtor’s efforts. It is telling that in the Motion header,
 24
      the Debtor and Committee refer to the Ponzi finding as “related relief” in an apparent attempt to not draw attention
 25
      to the actual relief which they seek.
 26



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  1
                  An adversary proceeding offers counter-parties an opportunity to be heard in
  2
      a meaningful time and in a meaningful manner. Adversary proceedings require that
  3

  4   a plaintiff file and serve a complaint, advising the defendant of the factual basis for
  5
      the nature of the claims asserted against it. Adversary proceedings allow for a
  6
      discovery process that spans weeks if not longer, thereby allowing the defendant to
  7

  8   meaningfully gather and evaluate the evidence that supports the claim asserted
  9
      against it. Adversary proceedings allow for motion practice that can be used to
 10
      challenge claims and narrow issues. None of these procedural safeguard are
 11

 12   present in a contested matter or the procedure proposed by the Debtors.
 13
                          2.       The Proposed Procedure Does not Provide Potential Targets
 14
      with Meaningful Opportunity to Defend Themselves
 15
 16               By their own admission, the Debtors have had several months to review the
 17
      financial records of the Debtors. Per the Declaration of Lance Miller in Support of
 18

 19
      Paladin Employment Application [Dkt. No. 87], Paladin Management Group has

 20   been examining the Debtors’ records since July, 2023, and was paid in excess of
 21
      $380,000 for just its pre-petition work.4 Yet, Debtors propose to give unidentified
 22
 23

 24
      4
          Because no applications for compensation have been filed, it is unclear how much Paladin has been paid post-
 25
      petition.
 26



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  1
      counter-parties mere days to complete discovery.5 Socotra is a prime example of
  2
      why such a process is fundamentally unfair. The Debtors submitted over three
  3

  4   thousand pages of exhibits in support of the DIP Motion’s Ponzi argument, none of
  5
      which appear to support the proposition that the real-property owning entities such
  6
      as VH 2nd Street were part of the Ponzi scheme. Socotra, and other similarly-
  7

  8   situated lenders, however, will have no opportunity to engage their own financial
  9
      expert, should they chose to do so, to analyze whether all of the iCap entities
 10
      (which are not substantively consolidated) were part of the fraudulent activity. In
 11

 12   other words, Socotra and other lenders will have no meaningful opportunity to
 13
      attempt to rebut Debtors’ expert report, and, if the Court grants the relief requested,
 14
      will be relegated to the situation where they can only assert affirmative defenses,
 15
 16   thereby inexorably shifting the burden of proof from the Debtors to the arms-
 17
      length lenders.
 18

 19
                 Simply put, the process proposed by the Debtors is flawed and

 20   fundamentally unfair. The Debtors (and their lender) and the Committee seek the
 21
      advantage of being able to commence litigation against parties that are unidentified
 22
 23

 24
      5
          It is unreasonable to expect parties, such as Socotra, who don’t even know whether they are a target of litigation, to
 25
      engage in expensive discovery and retain financial experts on the chance that they might be sued in the future.
 26



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  1
      and potentially not actively involved in this proceeding, with the deck stacked in
  2
      their favor.
  3

  4              B.       The Debtors Have not Established Grounds to Extend the Ponzi
  5
      Finding to all iCap Entities
  6
                 Rather than taking a surgical approach in their request for the Court to make
  7

  8   a Ponzi finding, the Debtors take a scattershot approach, asking the Court to find
  9
      that “iCap” or the “Debtors” operated as a Ponzi scheme.6 Per the case caption and
 10
      related footnote, “Debtors” encompasses all of the iCap family of companies
 11

 12   without distinguishing between the investment funds and the property-owning
 13
      entities such and VH 2nd Street.
 14
                 While the declarations filed in support of the DIP Motion from Lance Miller
 15
 16   and Jeffrey H. Kinrich attach thousands of pages of exhibits regarding the Ponzi
 17
      allegation, there is scant documentation regarding the participation of the property-
 18

 19
      owing entities such as VH 2nd Street in the allegedly fraudulent scheme. In Mr.

 20   Miller’s declaration in support of the DIP Motion, VH 2nd Street is mentioned only
 21
      once – in the footnote identifying the debtor entities. In his second declaration,
 22
 23
      filed on March 1, 2024, it is again mention only once, in the same context. Mr.

 24

 25

 26   6
          The DIP Order contains a conclusion that the “Debtors’ business enterprises operated as a Ponzi scheme.”




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  1
      Kinrich’s declaration mentions VH 2nd Street eight times, none of them in the
  2
      context of the Ponzi, but rather addressing issues such as the lapse of insurance.
  3

  4   VH 2nd Street is not mentioned at all in the Declaration of Daniel Mayer filed on
  5
      March 1, 2024, which appends the transcript of a call with investors regarding the
  6
      alleged Ponzi scheme. The Debtors’ Supplemental Brief in Support of Motion for
  7

  8   DIP Financing only mentions VH 2nd Street in the footnote identifying the Debtors.
  9
              The Ninth Circuit defines a Ponzi scheme as “an arrangement whereby an
 10
      enterprise makes payments to investors from the proceeds of a later investment
 11

 12   rather than from profits of the underlying business venture, as the investors
 13
      expected. The fraud consists of transferring proceeds received from the new
 14
      investors to previous investors, thereby giving other investors the impression that a
 15
 16   legitimate profit-making business opportunity exists, where in fact no such
 17
      opportunity exists.” In re Agric. Research & Tech. Grp., Inc., 916 F.2d 528, 531
 18

 19
      (9th Cir. 1990). Debtors define a Ponzi, stating as follows:

 20
              The “hallmark” of a Ponzi scheme is “[d]istributing funds to earlier
 21           investors from the receipt of monies from later investors.” Hayes v.
              Palm Seedlings Partners–A (In re Agricultural Research and
 22           Technology Group, Inc.), 916 F.2d 528, 536 (9th Cir. 1990). “The fraud
 23           consists of [1] funneling proceeds received from new investors to
              previous investors [2] in the guise of profits from the alleged business
 24           venture, thereby cultivating an illusion that a legitimate profit-making
              business opportunity exists and inducing further investment.” In re
 25           United Energy Corp., 944 F.2d 589, 590 n. 1 (9th Cir. 1991); see In re
 26
              Fox Ortega Enterprises, Inc., 631 B.R. 425, 441–42 (Bankr. N.D. Cal.
              2021) (“While there is not one universal definition of a ‘Ponzi Scheme,’


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  1           . . . [they] have two important characteristics which distinguish them
  2
              from other types of fraud: (1) the promise of profit that is disconnected
              from any legitimate business activity . . . , and (2) use of new investor
  3           funds, instead of legitimate profit, to provide a return to earlier
              investors.”).
  4

  5
      Supplemental Brief Regarding Ponzi Scheme Findings in Support of Joint Motion
  6

  7   for Order Authorizing Post-Petition Financing [Dkt. No. 542] at 9-10.

  8           The declarations and briefs filed in support of the DIP Motion attempt to
  9
      make the case that certain companies in the iCap family were operated in such a
 10

 11   manner:
 12
              Individual iCAP Funds exhibited the same pattern: large inflows and
 13           outflows of cash from and to investors, with little to no legitimate
 14           business revenue. For example, iCAP’s Fund 4 received $23.9 million
              in deposits, of which 51.9%, or $12.4 million, was from investors,
 15           47.9% percent, or $11.4 million, was from intercompany transfers, and
              only 0.2%, or $41,996, was from business operations.
 16
             Despite generating barely any revenue, the Fund paid almost $5 million
 17
             to investors; expensed over $3.0 million in general, operating, and
 18          administrative expenses; and redistributed $9.5 million to other entities
             within the organization. Id. Other iCAP funds similarly had “almost no
 19          real estate related activity,” with “deposits and withdrawals . . . mostly
             money from and to [investors], along with intercompany transfers.”
 20
      Id., 11-12.
 21
              The Supplemental Declaration of Lance Miller in Support of Postpetition
 22
 23   Financing and Related Relief [Dkt. 468] spends several pages detailing the
 24
      business practices of iCap Pacific Northwest Opportunity and Income Fund, LLC,
 25
      iCap Northwest Opportunity Fund, LLC, iCap Equity, LLC, and iCap Pacific
 26



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  1
      Income Fund 4, LLC – specifically how these entities allegedly operated as a
  2
      traditional Ponzi scheme, by using money from new investors to pay earlier
  3

  4   investors. Supplemental Declaration of Lance Miller in Support of Postpetition
  5
      Financing and Related Relief, 6-18. Notably absent is any discussion of VH 2nd
  6
      Street or other legitimate property-owing entities. There is no allegation that VH
  7

  8   2nd Street had any investors at all (in fact, it did not).
  9
              The evidence presented does not support the notion that VH 2nd St. was a
 10
      Ponzi enterprise as defined by the Ninth Circuit. There is no allegation or evidence
 11

 12   that it “ma[de] payments to investors from the proceeds of a later investment rather
 13
      than from profits of the underlying business venture, as the investors expected.”
 14
      All evidence suggests that it was nothing more than a legitimate entity, albeit
 15
 16   perhaps adjacent to a fraudulent investment scheme (which Socotra does not
 17
      concede), that did nothing more than own an income producing property and
 18

 19
      collect rents.

 20           It is entirely inappropriate for the Court to make a determination at this
 21
      juncture, without allowing Socotra and other similarly-situated lenders, an
 22
 23
      opportunity in a meaningful time and in a meaningful manner to contest the

 24   inclusion of the iCap property-owning enterprises, as opposed to the investment
 25
      funds, in the Ponzi scheme finding.
 26



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  1
              C.         The Proposed Ponzi Finding is Unnecessary Under §364
  2
              In the DIP Motion, the Debtors seek authority to obtain credit secured by a
  3

  4   senior or equal lien on property of the estate that is subject to an existing lien.
  5
      Under 11 U.S.C. §364(d), the Court is required to make only two findings to
  6
      authorize such credit. First, it must find that the Debtor is unable to obtain such
  7

  8   credit otherwise. 11 U.S.C. §364(d)(1)(A). Second, it must determine that there is
  9
      adequate protection of the interest of the holder of the lien on the property of the
 10
      estate on which such senior or equal lien is proposed to be granted. 11 U.S.C.
 11

 12   §364(d)(1)(B). The Court need not make any other finding to authorize the Debtors
 13
      to acquire DIP Financing. The proposed finding regarding the alleged Ponzi
 14
      scheme is entirely unnecessary and superfluous to the relief requested. After four
 15
 16   months and hundreds of thousands of dollars paid to financial advisors, the Debtor,
 17
      the Committee, and the proposed lender must have a handle on the merits of their
 18

 19
      Ponzi claims. If the lender is willing to extend credit taking avoidance actions as

 20   collateral, then it clearly had conducted due diligence to determine whether the
 21
      facts will ultimately result in such a determination in the context of an adversary
 22
 23
      proceeding. In other words, it should not need a finding in the DIP Order that the

 24   iCap entities operated as a Ponzi scheme as a condition to extending credit. The
 25
      Court should limit its findings in the DIP Order to those required by the
 26



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POSTPETITION FINANCING - 13                                                            605 5T H AVE S, ST E 900
                                                                                   SE AT T LE , WASHI NG T ON 98104

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  1
      Bankruptcy Code to authorize the relief requested by the Debtors, and not stray
  2
      beyond the parameters of 11 U.S.C. §364 in an effort to appease the desires of the
  3

  4   prospective lender.
  5
                                         IV. CONCLUSION
  6
              The Debtors’ attempt to ram through a Ponzi finding on an expedited basis,
  7

  8   without any meaningful opportunity for unidentified potential avoidance-action
  9
      targets to engage, should not be tolerated. There is no emergency and no exigent
 10
      circumstances that would warrant a truncated process that deprives potential
 11

 12   targets of due process. Debtors and the Committee argue that the DIP financing is
 13
      necessary to pay administrative expenses and that the DIP lender will not provide
 14
      the financing unless the deck is stacked on the potential avoidance actions.
 15
 16   Needing money to pay professionals is not an emergency. This is precisely the
 17
      situation that bankruptcy professionals sign up for when they undertake a debtor or
 18

 19
      committee representation. They have to wait until there is a recovery to get paid.

 20   The idea that the due process rights of parties in interest should be subordinated to
 21
      the attorneys’ desires to get paid should not be countenanced. The DIP Financing
 22
 23
      appears entirely unnecessary – certainly Debtors’ and Committees’ counsel can

 24   pursue causes of action without the financing, and wait to get paid from the
 25

 26



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  1
      proceeds of the result, as usually occurs in bankruptcy. Accordingly, the DIP
  2
      Motion should be denied.7
  3

  4                        DATED this 18th day of March, 2024.

  5                                                              MILLER NASH LLP

  6                                                              /s/David C. Neu
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 10                                                              Attorneys for VH 2nd Street Noteholders
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 18   7
          It bears noting that the Debtors and its lender may not get the result that they want out of a Ponzi finding. In order

 19   for collateral estoppel to apply four elements must be satisfied: 1) The issue sought to be precluded must be the

 20   same as that involved in the prior action; 2) The issue must have been actually litigated; 3) It must have been

 21   determined by a valid and final judgment; and 4) The determination must have been essential to the final judgment.

 22   In re Silva, 190 B.R. 889, 892 (9th Cir. BAP 1995). “Actually litigated” means that the party must have had a full

 23   and fair opportunity to litigate the matter. Allen v. McCurry, 449 U.S. 90, 95, 101 S.Ct. 441, L.Ed.2d 308 (1980).

      Here, the procedures proposed by the Debtor and Committee mean that the issue will not have been full and fairly
 24
      litigated. Moreover, a finding of a Ponzi scheme is not essential to a motion allowing postpetition financing under
 25
      11 U.S.C. §364.
 26



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  1                              CERTIFICATE OF SERVICE
  2           I hereby certify that on this day, I electronically filed the Notice of Appearance
  3   with the Clerk of the Court using the CM/ECF system which will send notification
  4   of such filing to all registered counsel and parties of record.
  5           I declare under penalty of perjury under the laws of the state of Washington
  6   that the foregoing is true and correct to the best of my knowledge.
  7           Signed this 18th day of March 2024 at Seattle, Washington.
  8                                                   /s/David C. Neu
  9
                                                      David C. Neu, WSBA No. 33143

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